     Case: 1:21-cv-03017 Document #: 8 Filed: 06/29/21 Page 1 of 2 PageID #:110




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MIDRED PERSON,                                    )
          Plaintiff,                              )
     v.                                           )    Case No. 201-CV-3017
                                                  )
WILMINGTON SAVINGS FUND                           )
SOCIETY FSB, D/B/A CHRISTIANA                     )
TRUST AS TRUSTEE FOR PNPMS                        )
TRUST II, STATEBRIDGE COMPANY,                    )
LLC AND DIAZ ANSELMO LINDBERG,
LLC,
            Defendants.

                      AGREED MOTION FOR EXTENSION OF TIME
                         TO ANSWER OR OTHERWISE PLEAD

       NOW COMES Defendant Diaz Anselmo & Associates, LLC, f/k/a Diaz Anselmo

Lindberg, LLC by and through its counsel, Christopher S. Iaria of Diaz Anselmo & Associates,

LLC, and moves the court to grant an extension of time for Defendant to answer or otherwise

plead in response to Plaintiff’s complaint. In support hereof, Defendant states as follows:

       1. Defendant was recently served with Plaintiff’s complaint and is investigating the

           allegations contained therein.

       2. Plaintiff has agreed to grant Defendant an extension to July 22, 2021 to respond or

           otherwise plead to Plaintiff’s complaint.

       3. This Motion is brought in good faith and not for purposes of delay. The Defendant

           has not previously requested an extension of time.

       WHEREFORE, Defendant Diaz Anselmo & Associates, LLC, prays that this Honorable

Court enter an order granting Defendant until July 22, 2021 to answer or otherwise plead in

response to Plaintiff’s complaint, and grant such other and further relief as is just and equitable.




                                             Page 1 of 2
    Case: 1:21-cv-03017 Document #: 8 Filed: 06/29/21 Page 2 of 2 PageID #:111




                                                Respectfully submitted,

                                        By:     /s/ Chris S. Iaria
                                                One of the attorneys for Defendants

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                                       Page 2 of 2
